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                    Ca se 2:l^ -g(%)J 4-LG^ ^ .^ ocy^ l44o^ fi4/^ 8 P a ge 1 of

                                                              NOTICE TO COUNSEL

          Befor e pr oceedin g wit h t h e sch edu led m ot ion s h ea r in g in t h is ca se, t h e Cou r t dir ect s cou n sel for t h e pa r t ies
t o a n swer t h e followin g in qu ir es.

         1.        H a ve a ll of you r pr et r ia l m ot ion s been sa t isfied or ot h er wise r esolved?               L^ ^
         2.       P lea se list a n y u n r esolved m ot ion s wh ich r equ ir ed a r u lin g by t h e cou r t a n d in dica t e wh et h er
                  a r gu m en t is r equ est ed a n d/or wh et h er a n eviden t ia r y h ea r in g is r equ ir ed. An y m ot ion wh ich is n ot
                  list ed will be dism issed a s m oot .

         3.         If a h ea r in g is n ot r equ ir ed, plea se in dica t e so a n d r et u r n .
                                                                                                                                E viden t ia r y
                   N a t u r e of Mot ion                                                             Ar gu m en t              H ea r in g
                                                                                                      Requ est ed               Requ ir ed

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                   Sign a t u r e of                                                                          Cou n sel for :



        Over ca sh , et a L; 2:18-cr -14

BY DIRE CTION OF TH E COU RT: E -F ILE t h is docu m en t on or befor e n oon , AU G. 16, 2018


                                                                                                       P a m H a m m ock
                                                                                                       Cou r t r oom Depu t y Cler k
                                                                                                       801 Glou cest er St r eet
                                                                                                       Br u n swick , Geor gia 31521
